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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
UNITED STATES OF AMERICA

vs.                                                  CASE# 6:20cr-1


Crystal Wheeler


                ORDER GRANTING LEAVE OF ABSENCE
       Counsel, JACK MORRIS DOWNIE, having filed his Motion for Leave of Absence

and having served all parties thereto:

        IT IS HEREBY ORDERED that said Motion for Leave of Absence for the following

dates: November 11-14, 2020 & December 6-11, 2020 is GRANTED.

       This 15th day of October, 2020.



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                                               ___________ ________________  _ ___
                                                                             __
                                               Christopher
                                               Christopheer L. Ray
                                               Unitedd States
                                                       States Magistrate Judgee
                                               Southern District of Georgia
